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 BY ECF                                                                            MICHAEL MARRON
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 Honorable James Orenstein                                                         MARK NEWMAN
                                                                                   AGGELIKI E. NIKOLAIDIS
 United States Magistrate Judge                                                    JOSEPH PERRY
                                                                                   MARIE LOUISE PRIOLO *
 Eastern District of New York                                                      KEYONTE SUTHERLAND
                                                                                   WAYNE WATTLEY
 225 Cadman Plaza East
 Brooklyn, New York 11201                                                          *Also Admitted In New Jersey



        Re:     Galloway v. County of Nassau, et al., 19 CV 5026 (AMD) (JO)

 Your Honor:

        I represent plaintiff in the above-referenced matter. I write to respectfully request
 an extension of plaintiff’s amendment deadline from June 1, 2020 until June 15, 2020.
 Defendants consent to this request.1

        By Rule 16 Scheduling Order dated April 2, 2020, plaintiff was granted until
 June 1 to amend his pleading and join additional parties. DE #57(I). As is the practice
        st

 of the undersigned, plaintiff had proposed the June 1st amendment deadline so that he
 would have the benefit of defendants’ discovery responses when formulating any
 amendment. Indeed, plaintiff served document requests and identification
 interrogatories on defendants on April 2nd.

        Shortly before defendants’ responses were due, by e-mail on April 27, 2020,
 counsel to the Nassau County defendants first requested plaintiff’s consent to an
 extension of their response deadline. The parties thereafter conferred and plaintiff

 1
   If it should please the Court, Nassau County defendants articulated their position as follows:
 “[W]e…consent to your request, but given that we expect to need time beyond June 15 for the
 production of documents given the difficulties caused by the pandemic emergency and its effects on
 the Nassau County Police Department, we believe the extension should be longer.”
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 consented to a thirty-day extension for all defendants to serve responses, moving the
 operative deadline to June 1st. See DE #57(II)(b).

       In order to allow plaintiff a meaningful opportunity to review defendants’
 responses in advance of drafting any amendment, plaintiff respectfully requests, on
 consent, that the deadline be extended until June 15th.

       No prior request for an extension of this deadline has been submitted. The
 proposed extension will not affect any other previously-scheduled deadlines.2

         Thank you for your consideration of this request.

                                                  Respectfully submitted,

                                                  Gabriel P. Harvis

 cc:     Defense Counsel




 2
   If it should please the Court, in preparing the instant letter the undersigned observed two apparent
 typographical errors in the Scheduling Order at DE 57(I) that plaintiff respectfully brings to the
 Court’s attention: the year for filing dispositive motions and the pre-trial order appears to be incorrect.

                                                     2
